Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 1 of 46 PageID# 188

                                                                         1


  1                       UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF VIRGINIA
  2                            ALEXANDRIA DIVISION

  3   UNITED STATES OF AMERICA,            )   Case 1:24-cr-141
                                           )
  4                       Plaintiff,       )
                                           )
  5            v.                          )   Alexandria, Virginia
                                           )   June 21, 2024
  6   ROBERT WESLEY ROBB,                  )   2:33 p.m.
                                           )
  7                       Defendant.       )
                                           )   Pages 1 - 46
  8

  9                      TRANSCRIPT OF PLEA HEARING AND

 10      MOTION TO RELEASE FROM CUSTODY AFTER ENTRY OF PLEA

 11              BEFORE THE HONORABLE ANTHONY J. TRENGA

 12                  UNITED STATES DISTRICT COURT JUDGE

 13
      APPEARANCES:
 14
      FOR THE PLAINTIFF:
 15
            KATHERINE E. RUMBAUGH, ESQUIRE
 16         A. ZOE BEDELL, ESQUIRE
            OFFICE OF THE UNITED STATES ATTORNEY
 17         2100 Jamieson Avenue
            Alexandria, Virginia 22314
 18         (703) 299-3700

 19   FOR THE DEFENDANT:

 20         ANN MASON RIGBY, ESQUIRE
            OFFICE OF THE FEDERAL PUBLIC DEFENDER
 21         1650 King Street, Suite 500
            Alexandria, Virginia 22314
 22         (703) 600-0800

 23   THE DEFENDANT, ROBERT WESLEY ROBB, IN PERSON

 24

 25       COMPUTERIZED TRANSCRIPTION OF STENOGRAPHIC NOTES


        Rhonda      F.   Montgomery    OCR-USDC/EDVA     (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 2 of 46 PageID# 189

                                                                         2


  1                         P R O C E E D I N G S

  2                THE COURTROOM DEPUTY:         Criminal Case

  3   No. 1:24-cr-141, United States v. Robert Wesley Robb.

  4                Counsel, will you please note your

  5   appearances for the record.

  6                MS. BEDELL:      Good afternoon, Your Honor.

  7   It's Zoe Bedell and Katherine Rumbaugh for the United

  8   States.

  9                THE COURT:      Good afternoon.

 10                MS. RIGBY:      Good afternoon, Your Honor.           Ann

 11   Mason Rigby on behalf of Mr. Robb, who is present.

 12                THE COURT:      All right.      I understand we're

 13   here for a pre-indictment plea based on a plea

 14   agreement and statement of facts and also Mr. Robb's

 15   motion for release pending sentencing.

 16                MS. RIGBY:      Yes, Your Honor, that's correct.

 17                THE COURT:      All right.      Mr. Robb, would you

 18   come to the podium and be sworn, please.

 19         (The defendant affirms.)

 20                THE COURT:      Would you state your full name,

 21   please.

 22                THE DEFENDANT:       Robert Wesley Robb.

 23                THE COURT:      Mr. Robb, the purpose of this

 24   hearing is to give you the opportunity to enter a

 25   guilty plea to the charge of wire fraud.               If you enter


        Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 3 of 46 PageID# 190

                                                                         3


  1   such a plea, it will be the responsibility of this

  2   Court to ensure that your plea is being entered

  3   voluntarily, that is, that no one is forcing you to

  4   enter that plea against your will and that your plea is

  5   not being entered in exchange for any promises or

  6   agreements except those in your plea agreement.

  7                The Court also has the responsibility to

  8   ensure that your plea is entered knowingly, that is,

  9   that you understand the consequences of pleading

 10   guilty.

 11                In order for the Court to make those

 12   determinations, I'm going to ask you a series of

 13   questions.      And for that purpose, you've been placed

 14   under oath.      Having been placed under oath, you have

 15   the obligation to answer all of the Court's questions

 16   truthfully.      If any of your answers prove to be untrue,

 17   you may be subjecting yourself to additional criminal

 18   penalties, including those for perjury based on the

 19   responses you give here in court today.

 20                Do you understand that?

 21                THE DEFENDANT:       Yes, Your Honor.

 22                THE COURT:      What is your age?

 23                THE DEFENDANT:       Forty-six.

 24                THE COURT:      And what is your highest level of

 25   formal education?


        Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 4 of 46 PageID# 191

                                                                         4


  1                THE DEFENDANT:       Some college.

  2                THE COURT:      You read, write, and understand

  3   the English language?

  4                THE DEFENDANT:       Yes.

  5                THE COURT:      And you're a citizen of the

  6   United States?

  7                THE DEFENDANT:       Yes.

  8                THE COURT:      And you've been represented by a

  9   lawyer in connection with this charge; is that correct?

 10                THE DEFENDANT:       Yes.

 11                THE COURT:      Have you met with your lawyer?

 12                THE DEFENDANT:       I have.

 13                THE COURT:      Has your lawyer explained to you

 14   the charge against you and what the government must

 15   prove in order to convict you of that charge?

 16                THE DEFENDANT:       Yes, Your Honor.

 17                THE COURT:      Has your lawyer explained to you

 18   the consequences of pleading guilty?

 19                THE DEFENDANT:       Yes.

 20                THE COURT:      Have you provided to your lawyer

 21   all the facts and information you know that may relate

 22   to this charge?

 23                THE DEFENDANT:       Yes.

 24                THE COURT:      And have you discussed with your

 25   lawyer any possible defenses you might have and what


        Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 5 of 46 PageID# 192

                                                                         5


  1   would be required to prove those defenses?

  2                THE DEFENDANT:       Yes.

  3                THE COURT:      Have you understood everything

  4   your lawyer has told you?

  5                THE DEFENDANT:       Yes.

  6                THE COURT:      Have you had all your questions

  7   answered to your satisfaction?

  8                THE DEFENDANT:       Yes, Your Honor.

  9                THE COURT:      Have you had any difficulty

 10   understanding anything your lawyer has told you,

 11   anything about the charge against you, or anything

 12   about the nature of these proceedings, including why

 13   you're in court here today?

 14                THE DEFENDANT:       No.

 15                THE COURT:      Have you been satisfied with the

 16   services of your lawyer?

 17                THE DEFENDANT:       Yes.

 18                THE COURT:      Do you think you've had enough

 19   time to meet with your lawyer and discuss whether or

 20   not you should be entering a guilty plea at this point

 21   in the proceedings?

 22                THE DEFENDANT:       Yes.

 23                THE COURT:      Have you been under the influence

 24   of any drugs or medication or any other substance

 25   that's affected your ability to understand anything


        Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 6 of 46 PageID# 193

                                                                         6


  1   your lawyer has told you, anything about the charge

  2   against you, or anything about these proceedings?

  3                THE DEFENDANT:         No.

  4                THE COURT:      Ms. Rigby, based on everything

  5   you know, is Mr. Robb competent to enter a guilty plea

  6   here today?

  7                MS. RIGBY:      Yes.

  8                THE COURT:      Do you understand that the charge

  9   to which you would plead guilty is wire fraud?

 10                THE DEFENDANT:         Yes.

 11                THE COURT:      And do you understand that by

 12   pleading guilty, you will be convicted of that charge

 13   just as if you had gone to trial on a plea of not

 14   guilty and were convicted by a jury?

 15                THE DEFENDANT:         Yes.

 16                THE COURT:      Has your lawyer explained to you

 17   the maximum punishment you could receive based on the

 18   conviction that would result from your guilty plea?

 19                THE DEFENDANT:         Yes.

 20                THE COURT:      The maximum punishment you could

 21   receive is a term of imprisonment of up to 20 years, a

 22   fine of up to $250,000, forfeiture of any

 23   offense-related assets, restitution with respect to any

 24   victim losses, a special assessment of $100 that will

 25   be imposed, and a period of supervised release of at


        Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 7 of 46 PageID# 194

                                                                         7


  1   least 3 years.        Do you understand that's the maximum

  2   punishment you could receive?

  3                THE DEFENDANT:        Yes, Your Honor.

  4                THE COURT:        I've mentioned supervised release

  5   as a possible term of a sentence.              Supervised release,

  6   if imposed, will begin after you've completed any term

  7   of imprisonment.        It would have certain conditions that

  8   you would have to satisfy.           And if you failed to

  9   satisfy those conditions, you could be imprisoned for

 10   all or a portion of your period of supervised release

 11   even if you had successfully completed a portion of it.

 12   Do you understand the nature of supervised release?

 13                THE DEFENDANT:        Yes.

 14                THE COURT:        Also, we've abolished parole

 15   within the federal system.           So you will, in fact, serve

 16   the full length of any term of imprisonment subject

 17   only to a reduction of up to 15 percent based on good

 18   behavior.        Do you understand that?

 19                THE DEFENDANT:        Yes, sir.

 20                THE COURT:        I understand that you have

 21   entered into a written plea agreement.               Is that

 22   correct?

 23                THE DEFENDANT:        Yes.

 24                THE COURT:        Do you have that document in

 25   front of you?


        Rhonda    F.    Montgomery     OCR-USDC/EDVA     (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 8 of 46 PageID# 195

                                                                         8


  1                THE DEFENDANT:       Yes.

  2                THE COURT:      Does your signature appear on

  3   that document?

  4                THE DEFENDANT:       It does.

  5                THE COURT:      And you signed that document?

  6                THE DEFENDANT:       I did.

  7                THE COURT:      Did you read that document?

  8                THE DEFENDANT:       Yes.

  9                THE COURT:      Did you have all your questions

 10   answered to your satisfaction about that document?

 11                THE DEFENDANT:       Yes.

 12                THE COURT:      Did you understand everything in

 13   that document?

 14                THE DEFENDANT:       I did.

 15                THE COURT:      Did anyone threaten you or try to

 16   influence you in any way into signing that written plea

 17   agreement against your will?

 18                THE DEFENDANT:       No, Your Honor.

 19                THE COURT:      Is this written plea agreement

 20   the entire agreement you think you have with the United

 21   States government?

 22                THE DEFENDANT:       Yes.

 23                THE COURT:      Do you think you have any other

 24   promises, agreements, or understandings in exchange for

 25   your guilty plea that's not in this written plea


        Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 9 of 46 PageID# 196

                                                                         9


  1   agreement?

  2                THE DEFENDANT:       No.

  3                THE COURT:      If you were to go to trial and if

  4   after that trial you were convicted, you would have the

  5   right to appeal that conviction and any sentence to a

  6   higher court.      Under this plea agreement, you waive,

  7   that is, you give up your right of appeal both as to

  8   the conviction that would result from your guilty plea,

  9   as well as any sentence imposed.             Do you understand

 10   that you've waived your right of appeal under this plea

 11   agreement?

 12                THE DEFENDANT:       Yes, Your Honor.

 13                THE COURT:      Have you discussed with your

 14   lawyer whether or not you should waive your right of

 15   appeal?

 16                THE DEFENDANT:       Yes.

 17                THE COURT:      Also, under this plea agreement,

 18   the government agrees to make certain recommendations.

 19   Those are only recommendations.            They're not binding on

 20   the Court.      Only the Court will decide what sentence to

 21   impose in this case.         Do you understand that?

 22                THE DEFENDANT:       Yes.

 23                THE COURT:      Also, under this plea agreement,

 24   you agree to the entry of a restitution order with

 25   respect to any victim losses.            Do you understand that?


        Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 10 of 46 PageID# 197

                                                                        10


   1               THE DEFENDANT:        Yes.

   2               THE COURT:       Do you also understand that

   3   you've agreed to the entry of a forfeiture order with

   4   respect to any offense-related assets and to have that

   5   forfeiture order entered without any constitutional or

   6   procedural protections?         Do you understand that?

   7               THE DEFENDANT:        Yes.

   8               THE COURT:       Have you discussed with your

   9   lawyer the rights you have as somebody charged with a

  10   crime and that you would give up these rights by

  11   pleading guilty?

  12               THE DEFENDANT:        Yes, Your Honor.

  13               THE COURT:       You have the absolute right to

  14   proceed to a trial on a plea of not guilty before a

  15   jury of 12 United States citizens.             Do you understand

  16   that?

  17               THE DEFENDANT:        Yes.

  18               THE COURT:       In order to convict you of this

  19   charge, that jury must unanimously find you guilty.                    Do

  20   you understand?

  21               THE DEFENDANT:        Yes.

  22               THE COURT:       You have a right to be

  23   represented by a lawyer at that trial and at every

  24   other stage of the proceedings.            If you could not

  25   afford one, one would be appointed for you.                Do you


         Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 11 of 46 PageID# 198

                                                                        11


   1   understand that?

   2               THE DEFENDANT:        Yes, Your Honor.

   3               THE COURT:       Also, you have the right during

   4   trial to confront any witnesses that the government may

   5   present and to challenge the admissibility of any

   6   evidence the government may offer.             Do you understand

   7   that?

   8               THE DEFENDANT:        Yes.

   9               THE COURT:       You also have the right to

  10   present your own defense.          That would include the right

  11   to require any person with relevant information to be

  12   brought into trial and testify and to bring with him or

  13   her any documents relevant to this charge.                 Do you

  14   understand that?

  15               THE DEFENDANT:        Yes.

  16               THE COURT:       You also have the right, as part

  17   of your defense, to testify yourself.              You could take

  18   that witness stand, be placed under oath, and testify

  19   subject to cross-examination.            You would have

  20   absolutely no obligation to testify.             You could remain

  21   silent in the face of this charge, and if you decided

  22   not to testify, the government could not force you to

  23   testify or to incriminate yourself in any way.                 Do you

  24   understand that?

  25               THE DEFENDANT:        Yes.


         Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)    299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 12 of 46 PageID# 199

                                                                        12


   1                THE COURT:       Also, if you made the decision

   2   not to testify, no inference of guilt could be inferred

   3   from the fact that you decided not to testify.                 You

   4   would continue to be presumed innocent of this charge,

   5   and the government would continue to have the

   6   obligation of proving each and every element of this

   7   charge beyond a reasonable doubt.             Do you understand

   8   that?

   9                THE DEFENDANT:       Yes, sir.

  10                THE COURT:       As I mentioned earlier, if after

  11   that trial you were convicted, you would have the right

  12   to appeal that conviction and any sentence to a higher

  13   court.     Do you understand that?

  14                THE DEFENDANT:       Yes.

  15                THE COURT:       By pleading guilty, there will be

  16   no trial in this case, and all that would be left for

  17   the Court to do would be to decide what sentence to

  18   impose.     Do you understand that?

  19                THE DEFENDANT:       Yes.

  20                THE COURT:       Having heard all of these rights

  21   that you have and that you would give up all of these

  22   rights by pleading guilty, is it still your decision to

  23   enter a guilty plea here today?

  24                THE DEFENDANT:       Yes, Your Honor.

  25                THE COURT:       In addition to all of these


         Rhonda    F.   Montgomery     OCR-USDC/EDVA      (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 13 of 46 PageID# 200

                                                                        13


   1   rights you will be giving up, there will be other

   2   collateral consequences of your pleading guilty,

   3   including the forfeiture of any right you might have to

   4   vote, hold public office, serve on a jury, or possess a

   5   firearm.    Do you understand that?

   6               THE DEFENDANT:        Yes.

   7               THE COURT:       You also have one other very

   8   valuable constitutional right, and that is the right to

   9   have this charge brought against you by way of what we

  10   call an indictment, which is issued by what we call a

  11   grand jury.

  12               A grand jury consists of up to 23 United

  13   States citizens.       In order to issue an indictment, at

  14   least 16 members of that grand jury must meet, hear

  15   evidence from the government, and at least 12 members

  16   of that grand jury must decide there's probable cause

  17   to believe you committed this crime.

  18               That grand jury, after hearing the

  19   government's evidence, may issue an indictment, but

  20   it's possible they would decide not to issue an

  21   indictment.      And if they decided not to issue an

  22   indictment, the government could not bring this charge

  23   against you.

  24               Do you understand that?

  25               THE DEFENDANT:        Yes, Your Honor.


         Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 14 of 46 PageID# 201

                                                                        14


   1               THE COURT:       You have the absolute right to

   2   insist on an indictment.          You also have the right to

   3   waive an indictment and allow the government to

   4   proceed, as they are doing here today, by way of what

   5   we call a criminal information.

   6               A criminal information is not an indictment.

   7   It's simply a piece of paper that was prepared in the

   8   U.S. Attorney's Office listing this offense.                No grand

   9   jury has heard evidence.          No grand jury has made any

  10   probable cause finding.

  11               Have you discussed with your lawyer whether

  12   or not you should waive a grand jury in this case?

  13               THE DEFENDANT:        Yes.

  14               THE COURT:       And have you decided to waive

  15   indictment in this case?

  16               THE DEFENDANT:        Yes.

  17               THE COURT:       Have you signed a waiver of

  18   indictment form?

  19               THE DEFENDANT:        Yes, Your Honor.

  20               THE COURT:       Do you have that document in

  21   front of you?

  22               THE DEFENDANT:        I do.

  23               THE COURT:       Your signature appears on that

  24   document, and you signed that document; is that

  25   correct?


         Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 15 of 46 PageID# 202

                                                                        15


   1                THE DEFENDANT:       Yes, Your Honor.

   2                THE COURT:      Did you read, understand, and

   3   have all your questions answered about that document?

   4                THE DEFENDANT:       Yes.

   5                THE COURT:      Did anyone threaten you or try to

   6   influence you in any way into signing that waiver

   7   against your will?

   8                THE DEFENDANT:       No.

   9                THE COURT:      Counsel, based on everything you

  10   know, is Mr. Robb competent to waive a grand jury in

  11   this case?

  12                MS. RIGBY:      Yes, Your Honor.

  13                THE COURT:      Let the record reflect that based

  14   on the responses of this defendant and the

  15   representations of counsel for the defendant, the Court

  16   finds and concludes that the defendant is competent to

  17   waive a grand jury and that he has knowingly and

  18   voluntarily done so.

  19                Have you discussed with your lawyer how the

  20   Court will go about deciding what sentence to impose in

  21   this case?

  22                THE DEFENDANT:       Yes.

  23                THE COURT:      Have you discussed what we call

  24   the sentencing guidelines and how they pertain to you

  25   and your offense?


         Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 16 of 46 PageID# 203

                                                                        16


   1               THE DEFENDANT:        We have.

   2               THE COURT:       As that name suggests, those are

   3   only guidelines.       They're not binding on the Court.

   4   The Court may impose a guideline sentence, or it may

   5   impose a sentence greater than the guidelines or less

   6   than the guidelines obligated only to impose a sentence

   7   within the maximum punishments that I've described to

   8   you.   Do you understand that?

   9               THE DEFENDANT:        Yes, Your Honor.

  10               THE COURT:       Also, the Court is not going to

  11   be able to finally decide what the guideline sentence

  12   is until after it receives a presentence report, that

  13   you and your lawyer and the government has had an

  14   opportunity to review and object to any information in

  15   that report.      Do you understand that?

  16               THE DEFENDANT:        Yes.

  17               THE COURT:       In addition to the guidelines,

  18   the Court is going to consider a whole range of other

  19   factors, including the nature and seriousness of this

  20   offense, your own personal history and characteristics,

  21   and generally what sentence will be sufficient but no

  22   more than necessary to constitute a just punishment and

  23   to protect the public.         Do you understand those are the

  24   kinds of considerations the Court is going to take into

  25   account?


         Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 17 of 46 PageID# 204

                                                                        17


   1               THE DEFENDANT:        Yes, sir.

   2               THE COURT:       Also, as I mentioned earlier, the

   3   Court is not going to be bound by any recommendations.

   4   So if you receive a sentence that is different than

   5   what the government recommends or that your lawyer

   6   recommends or if you receive a sentence that is

   7   different than someone told you you're likely to

   8   receive or that you're expecting or if you receive a

   9   sentence that you just think is unfair in some way, you

  10   nevertheless are going to be bound by your guilty plea,

  11   and you will not be permitted to withdraw your guilty

  12   plea after you hear what the sentence is.               Do you

  13   understand that?

  14               THE DEFENDANT:        Yes, Your Honor.

  15               THE COURT:       In a moment, I'm going to ask the

  16   government to tell the Court what evidence it would

  17   present against you if this case were to go to trial.

  18   I want you to listen very carefully to what the

  19   government tells the Court.          Because when the

  20   government is done, I'm going to ask you whether you

  21   disagree with anything the government has told the

  22   Court about your conduct.

  23               Have a seat for a moment.           We'll hear from

  24   the government.

  25               MS. BEDELL:       Your Honor, the United States


         Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 18 of 46 PageID# 205

                                                                        18


   1   and the defendant agree that the United States would

   2   have proven the following facts at trial beyond a

   3   reasonable doubt with admissible and credible evidence:

   4               Beginning in or around November 22 and

   5   continuing through in and around March 2024, in the

   6   Eastern District of Virginia and elsewhere, the

   7   defendant, Robert Wesley Robb, did knowingly devise and

   8   intend to devise a scheme and artifice to defraud

   9   investors and to obtain money and property by means of

  10   materially false and fraudulent pretenses,

  11   representations, and promises and for the purpose of

  12   executing the scheme and artifice to defraud knowingly

  13   transmitted and caused to be transmitted by means of

  14   wire communications in interstate commerce certain

  15   writings, signs, signals, and sounds, in violation of

  16   Title 18, United States Code, Section 1343.

  17               Specifically, on or about October 27, 2023,

  18   the defendant, using an electronic device located

  19   outside the Commonwealth of Virginia, transmitted a

  20   message via the Internet to Investor A, an

  21   individual --

  22         (Reporter clarification.)

  23               MS. BEDELL:       -- to Investor A, an individual

  24   located in the Eastern District of Virginia --

  25               I apologize.       I will try to slow down.


         Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 19 of 46 PageID# 206

                                                                        19


   1               On or around September 4, 2023, using an

   2   electronic device, Robb posted in his Friend.Tech chat

   3   using the Internet, advertising an opportunity to

   4   invest in a Maximum Extractable Value cryptocurrency

   5   trading bot.      Robb invited individuals that had 100 to

   6   200,000 plus sitting around and who wanted to

   7   participate in some next-level MEV stuff to send him a

   8   direct message to learn more.           A screenshot containing

   9   Robb's representations on Friend.Tech is included in

  10   the statement of facts.

  11               On or about September 7, 2023, Investor A

  12   sent a direct message to Robb's X account and discussed

  13   the opportunity to invest in the MEV bot.

  14               Robb explained to Investor A how the MEV bot

  15   would work, how Investor A's investment would be used

  16   as capital by the MEV bot to trade cryptocurrency,

  17   i.e., not to fund Robb's personal expenses, and how the

  18   origin of Investor A's investment must be obfuscated

  19   and how Robb and Investor A would split profits.

  20   Further, Robb described the MEV bot as capable of

  21   delivering very high returns and assured Investor A

  22   that this was a low-risk investment.             Additionally,

  23   Robb insisted that Investor A must invest within a day

  24   or two because he expected the bot to be operational

  25   soon, like early next week.          Screenshots reflecting


         Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 20 of 46 PageID# 207

                                                                        20


   1   these conversations are included within the statement

   2   of facts.

   3                On Telegram, Robb provided Investor A a

   4   virtual currency address to send his initial $100,000

   5   investment.       On or about September 8, 2023, Robb

   6   sent -- Investor A sent to Robb approximately $100,000.

   7   On September 26 and 27 and October 2, the funds

   8   provided by Investor A were transferred into Robb's

   9   Coinbase account from which he was then able to

  10   transfer funds to his traditional bank account.

  11                In the days between September 8 and

  12   September 26 and in the weeks and months that followed,

  13   Robb repeatedly promised Investor A that the MEV bot

  14   would be launched shortly and then subsequently

  15   provided multiple excuses for why the MEV bot had not

  16   yet launched.       At no point did Robb reveal to

  17   Investor A that he had used Investor A's funds and/or

  18   other investors' funds to fund his personal expenses.

  19                On or about October 27, 2023, Robb told

  20   Investor A that a new investor was interested in making

  21   a $300,000 investment in the MEV bot.              He told

  22   Investor A that such an investment would dilute

  23   Investor A's profits, so he was giving Investor A the

  24   chance to make an additional investment in the MEV bot,

  25   which he said would also insulate Investor A even


         Rhonda    F.   Montgomery    OCR-USDC/EDVA       (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 21 of 46 PageID# 208

                                                                        21


   1   further by spreading out the small risk profile

   2   associated with the bot.          This was false because Robb

   3   had already spent Investor A's previous investment on

   4   personal expenses.        So an additional investment would

   5   not and could not dilute any profits or insulate

   6   Investor A in any way.         And further deposits from

   7   Investor A would, at best, serve to replace funds Robb

   8   had misused and thereby conceal Robb's misuse of

   9   Investor A's initial investment.

  10                Robb also told Investor A the MEV bot would

  11   launch in the next week or so.

  12                On or about October 28, 2023, Investor A sent

  13   an additional $50,000 to an Ethereum virtual currency

  14   address provided by Robb.

  15                On or around November 8, 2023, Investor A

  16   requested a refund from Robb because they had not

  17   received any returns or evidence that Robb had created

  18   a MEV bot.      Robb provided multiple excuses for why he

  19   could not immediately refund Investor A.               Despite Robb

  20   repeatedly promising his refund by various dates,

  21   Investor A never received a refund from Robb, nor

  22   profits from the MEV bot.

  23                The government's investigation identified

  24   more than ten investors in Robb's scheme alleging

  25   losses totaling more than $2.2 million.              The investor


         Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 22 of 46 PageID# 209

                                                                        22


   1   complaints include allegations of misrepresentations,

   2   material omissions, and misuse of investor funds for

   3   personal expenses similar to the misrepresentations and

   4   omissions previously discussed.

   5                The earliest reported complaint is from

   6   Investor B, who received a message from Robb in

   7   October 2022 seeking an investment.             From in and around

   8   November 2022 to June 2023, Investor B invested a total

   9   of approximately $514,000 with Robb.             Through its own

  10   review of financial records and interviews with

  11   investors, the FBI has identified at least $1.5 million

  12   in funds that is either confirmed or believed were from

  13   investors.

  14                Despite Robb's representations to investors

  15   claiming investor funds will be used as trading capital

  16   for the MEV bot, the investor funds were funneled to

  17   virtual currency exchange accounts and traditional bank

  18   accounts held in Robb's name and not used as trading

  19   capital for the MEV bot.

  20                Contrary to Robb's promises that the funds

  21   would be used to invest or otherwise in connection with

  22   the MEV bot, the vast majority of the funds were, in

  23   fact, used to pay for personal expenses, including

  24   airline tickets, vacations, gambling, cars, and other

  25   luxury items.      Several examples of specific expenses


         Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 23 of 46 PageID# 210

                                                                        23


   1   are included in the statement of facts.

   2               At no point before or after investors decided

   3   to send him money did Robb inform current or

   4   prospective investors that he used investors' money to

   5   fund personal expenses or that he would do so.

   6               This statement of facts includes only those

   7   facts necessary to support the plea agreement and does

   8   not include every fact known to the defendant or the

   9   United States.

  10               THE COURT:       Would you come to the podium,

  11   please, Mr. Robb.

  12               Do you disagree with anything the government

  13   has told the Court about your conduct?

  14               THE DEFENDANT:        No, Your Honor.

  15               THE COURT:       I understand you've also signed a

  16   written statement of facts.          Is that correct?

  17               THE DEFENDANT:        Yes.

  18               THE COURT:       Do you have that document in

  19   front of you?

  20               THE DEFENDANT:        I do.

  21               THE COURT:       Your signature appears on that

  22   document, and you signed that document; is that

  23   correct?

  24               THE DEFENDANT:        Yes, Your Honor.

  25               THE COURT:       Did you read, understand, and


         Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 24 of 46 PageID# 211

                                                                        24


   1   have all your questions answered about that written

   2   statement of facts?

   3                THE DEFENDANT:       Yes.

   4                THE COURT:      Did anyone threaten you or try to

   5   influence you in any way into signing that written

   6   statement of facts against your will?

   7                THE DEFENDANT:       No, Your Honor.

   8                THE COURT:      Are the statements in that

   9   written statement of facts true and correct?

  10                THE DEFENDANT:       Yes.

  11                THE COURT:      And is it your decision to enter

  12   a guilty plea here today because you're, in fact,

  13   guilty of what you've been charged with?

  14                THE DEFENDANT:       Yes, sir.

  15                THE COURT:      Ms. Bedell, based on everything

  16   you know, is there an adequate basis for the plea in

  17   this case?

  18                MS. BEDELL:      Yes, Your Honor.

  19                THE COURT:      Before pleading to the criminal

  20   information, would you like to speak with your lawyer

  21   any further?

  22                THE DEFENDANT:       No, Your Honor.

  23                THE COURT:      With respect to the charge of

  24   wire fraud, in violation of Title 18, United States

  25   Code, Section 1343, how do you plead?              Guilty or not


         Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 25 of 46 PageID# 212

                                                                        25


   1   guilty?

   2                THE DEFENDANT:       Guilty.

   3                THE COURT:       Let the record reflect based on

   4   the responses of this defendant to the Court's

   5   questions, representations of counsel for the

   6   government and for the defendant, it's the finding of

   7   this Court in the case of United States v. Robert

   8   Wesley Robb that the defendant is fully competent and

   9   capable of entering an informed plea, that the

  10   defendant is aware of the nature of the charges and the

  11   consequences of the plea, and that the plea of guilty

  12   is a knowing and voluntary plea supported by an

  13   independent basis in fact containing each of the

  14   essential elements of the offense.             The plea is

  15   therefore accepted, and the defendant is now adjudged

  16   guilty of that offense.

  17                Ms. Robb, I'm not going to sentence you

  18   today.     I'm going to set this matter down for

  19   sentencing on September 11 at 9:00 a.m. in this

  20   courtroom.

  21                Between now and then, you will have the

  22   opportunity to be interviewed by a representative of

  23   pretrial services and probation.            That will be an

  24   opportunity for you to share with that office and,

  25   through that office, this Court any information you


         Rhonda    F.   Montgomery     OCR-USDC/EDVA      (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 26 of 46 PageID# 213

                                                                        26


   1   think will be helpful to the Court in deciding what an

   2   appropriate sentence is, and you may be accompanied by

   3   your lawyer during that interview.

   4               All right.       Why don't you have a seat for a

   5   moment.

   6               MS. RIGBY:       Your Honor, two things.         The

   7   parties would like to hand up the information to which

   8   Mr. Robb just pled guilty.          It has one change to the

   9   one submitted to chambers.          So we wanted to make sure

  10   the correct one was filed.

  11               THE COURT:       All right.

  12               MS. RIGBY:       Just for the record, the only

  13   thing that was changed was that the forfeiture notice

  14   included a specific reference to a stadium suite, and

  15   that's been removed.

  16               THE COURT:       All right.

  17               MS. RIGBY:       So with the assistance of the

  18   court security officer, I'll hand that up just to make

  19   sure the right one is filed.

  20               THE COURT:       All right.

  21         (A document is passed up to the Court.)

  22               MS. RIGBY:       Your Honor, having conferred with

  23   government counsel about their schedules, I would ask

  24   the Court if a later date could be set only -- I have a

  25   very complicated tax sentencing that week --


         Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 27 of 46 PageID# 214

                                                                        27


   1                THE COURT:      For the sentencing?

   2                MS. RIGBY:      Yes, Your Honor.

   3                -- followed by a fraud one the next week.                 I

   4   apologize.

   5                THE COURT:      All right.

   6                MS. RIGBY:      If there were any way to move it

   7   to October --

   8                THE COURT:      I could do it October 2.

   9                MS. RIGBY:      I would make that work, Your

  10   Honor.

  11                THE COURT:      All right, October 2.

  12                MS. RIGBY:      Okay.

  13                THE COURT:      Mr. Robb, I've rescheduled the

  14   sentencing hearing for October 2.

  15                All right.      The defendant has also filed a

  16   motion for release pending sentencing, essentially an

  17   appeal from Judge Fitzpatrick's detention order.                 I've

  18   reviewed the briefing.

  19                Ms. Rigby, do you want to represent anything

  20   further on this?

  21                MS. RIGBY:      I do, Your Honor.

  22                THE COURT:      Yes.

  23                MS. RIGBY:      First, I want to especially

  24   stress that some of the information in the government's

  25   opposition -- please let me know if the Court can't


         Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 28 of 46 PageID# 215

                                                                        28


   1   hear me.    I wanted to address some of the new

   2   information in the government's opposition, Your Honor.

   3               THE COURT:       All right.

   4               MS. RIGBY:       As the Court knows, government

   5   counsel filed Exhibit 1.          I want to stress this was not

   6   provided until after we filed the motion.               I think the

   7   Court can tell from the exhibit itself that the

   8   information came in on June 20, the same date that I

   9   filed the motion.

  10               I had asked for the basis for the

  11   government's assertions earlier that Mr. Robb had made

  12   threats, and that is how I came to Exhibits 2 and 3 to

  13   my motion and to my understanding of the scope of

  14   anything related or similar to threats.

  15               Government counsel had affirmed that they

  16   were not aware of any threats to other's physical

  17   safety at the time we spoke on June 20, I think.                 And

  18   now all of a sudden this comes in.             Now, I just want to

  19   make sure that the Court understands I was not holding

  20   back on that, number one.

  21               THE COURT:       I understand.

  22               MS. RIGBY:       And number two, Your Honor, I

  23   think the timing of it is relevant to how much weight

  24   it should be given.        I, frankly, think there's a good

  25   deal of reason to doubt what's in that email from this


         Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 29 of 46 PageID# 216

                                                                        29


   1   witness.     Number one, it's secondhand, and I think the

   2   government sort of acknowledges that by putting it in

   3   the footnote, right.          So this witness is saying that

   4   another person told them that Mr. Robb had made a

   5   threat to kill this witness and his mother.                So

   6   secondhand first of all.

   7                Secondly, that the person allegedly reporting

   8   this, I will note for the Court, is a convicted felon.

   9   He has been convicted in federal court of uttering

  10   counterfeit securities.          He's been convicted in state

  11   court of several fraudulent acts, such as passing bad

  12   checks.     He's been trespassed from casinos.             He's been

  13   sued.     He's sued everybody else.         He's been banned from

  14   casinos in at least one state that I know of,

  15   Pennsylvania, and that's a public record, Your Honor.

  16                I don't believe he claims to be a victim of

  17   this scheme, but he has been very intent on going after

  18   Mr. Robb and helping the government make their case,

  19   possibly to protect his own interests, Your Honor.                     We

  20   don't know.

  21                So number one -- or I should say number two,

  22   the source of this is highly suspect.              Secondly, the

  23   witness himself claims he heard this several months

  24   before Mr. Robb was arrested.           I don't recall the exact

  25   date that this witness was interviewed by the FBI, but


         Rhonda    F.   Montgomery     OCR-USDC/EDVA      (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 30 of 46 PageID# 217

                                                                        30


   1   he was interviewed by the FBI.           It is very hard to

   2   believe that if he had what he considered a credible

   3   threat against his own life and his mother's that he

   4   did not report that until June 20, the day that

   5   Mr. Robb asked for release again.            So I would ask the

   6   Court to take that into consideration.

   7                And in the end -- again, he says this is

   8   several months before Mr. Robb was arrested.                There is

   9   no evidence whatsoever that Mr. Robb actually took any

  10   step to act on any supposed threat to this witness or

  11   his mother or anybody else.

  12                This witness also forwarded along a snippet

  13   of a text that he attributes to Mr. Robb.               I don't know

  14   where it comes from.          I don't know the context.

  15   Mr. Robb does not specifically recall making it.

  16                All of that, Your Honor, I think is reason to

  17   give it little weight.          But the text itself, Your

  18   Honor, says -- I forgot what it says -- something about

  19   stomping on this person, who is the witness who sent

  20   that email in Exhibit 1, Your Honor.

  21                He says he's going to do this LOL.             I'm sure

  22   the Court is familiar that.          That means "laugh out

  23   loud."     So I think that suggests that it was not

  24   serious as does the fact that it does not seem to have

  25   been reported until June.


         Rhonda    F.   Montgomery     OCR-USDC/EDVA      (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 31 of 46 PageID# 218

                                                                         31


   1                So coupled with the fact, again, Your Honor,

   2   that Mr. Robb has not taken any steps to actually try

   3   to harm anybody, I would ask the Court to give all of

   4   this sudden information very little weight.

   5                Your Honor, the government also points to a

   6   jail call and says that Mr. Robb admitted on a recorded

   7   phone call he is now careful to not be so explicit, of

   8   course, referring to the fact that he was alleged to

   9   have made threats in the past.

  10                I asked government counsel what call that

  11   was.     I listened to it again today.          The context is --

  12   first of all, that's not a quote at all.               Secondly,

  13   that call was Mr. Robb explaining to his sister that a

  14   prosecutor in Nevada had said in court that he had

  15   threatened people in this case, in this context

  16   presuming.       And he was very upset about it, and he was

  17   strenuously denying that that's what he had done.                   It

  18   was not in any way suggesting, as I think this

  19   opposition does, "Hey, listen, don't worry.                I'm

  20   careful about how I make my physical threats."                   He was

  21   saying, "I have not made any physical threats at all."

  22                He said, "I was very careful.           Ever since my

  23   last thing" -- referring to his old case -- "I have

  24   never threatened anyone."          That's what he said, Your

  25   Honor.     He was not suggesting that he's covering for --


         Rhonda    F.   Montgomery    OCR-USDC/EDVA       (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 32 of 46 PageID# 219

                                                                        32


   1   he's not making veiled threats.            He's denying that he

   2   makes physical threats against people.

   3                And again, Your Honor, no matter what he

   4   said, no matter what he said in chats -- we all know we

   5   will say a lot of things online that we will not

   6   actually do.        There's no evidence whatsoever that he's

   7   ever actually tried to harm anybody physically.

   8                Second, Your Honor -- and I will move on --

   9   the conditions we propose would ensure he does not

  10   present a threat to anybody, physically or otherwise.

  11                The serious conduct, the government

  12   reiterates that he has pled guilty.             We understand

  13   that.   These are serious allegations.             He's admitted

  14   that.   All of that is true, but that's not the question

  15   before the Court.        The question is whether he will be a

  16   danger or abscond before sentencing under the

  17   conditions we propose, and he will not be able to do

  18   that under the conditions we propose, Your Honor.

  19                I understand he will be punished.             He

  20   understands that.        He's agreed to recommend a certain

  21   sentence.        But until that time, he has a right to be at

  22   liberty if there are conditions that can ensure the

  23   safety of the community -- and we believe there are --

  24   and that can assure he will reappear.              We believe there

  25   are.


         Rhonda    F.    Montgomery   OCR-USDC/EDVA       (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 33 of 46 PageID# 220

                                                                        33


   1               Really, the government has no response to the

   2   evidence that since 2005, Mr. Robb has not violated any

   3   conditions or to the fact that when he did violate

   4   conditions when he was on supervised release 20 years

   5   ago, which was a very long time ago, he wasn't under

   6   any of the kind of conditions that we're proposing.

   7               No matter what the government can say about

   8   him -- they can say he has confessed to committing a

   9   fraud recently.       They can't say that there's evidence

  10   of willful or of any violations of court orders in

  11   going on 20 years.

  12               And, Your Honor, I just would -- I'm not

  13   going to repeat everything in the motion.               I know the

  14   Court has read that.

  15               THE COURT:       I have read it.

  16               MS. RIGBY:       Thank you, Your Honor.

  17               But the last thing I would say is that his

  18   sister is a perfectly good third-party custodian.                  I

  19   did not ask for -- I don't know exactly where the

  20   quotes come from where she's saying this is unfair,

  21   this is ridiculous, or whatever she's saying.                I will

  22   say in the call I listened to again today where

  23   Mr. Robb is upset about what's happening in the bond

  24   hearings, she doesn't make comments like that.

  25               So I suspect -- I don't know -- that she may


         Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 34 of 46 PageID# 221

                                                                        34


   1   have been responding to that, and I know that's been a

   2   continuing concern for Mr. Robb.            So very likely she's

   3   been responding to that going on and that concern being

   4   that he has been misrepresented as making physical

   5   threats about people, which he denies.

   6               Further, Your Honor, sympathetic responses to

   7   somebody sitting in a jail cell does not mean that she

   8   will not abide by the Court's requirements of a

   9   third-party custodian.         Everything else about her

  10   character suggests that she will.

  11               And if she is sympathetic to Mr. Robb, she

  12   will understand, as does he, that the best thing he can

  13   do for himself is follow the conditions, show that he

  14   can do that, come back to court, do no further harm,

  15   and get the best sentence he can.

  16               And so, Your Honor, I think she's a perfectly

  17   good third-party custodian.          I don't think these

  18   sympathetic remarks should weigh heavily in the Court's

  19   consideration.

  20               And for all the reasons in the motion, we do

  21   ask that the Court release Mr. Robb.

  22               THE COURT:       All right.     Thank you.

  23               Ms. Bedell.

  24               MS. BEDELL:       Your Honor, this is the

  25   defendant's third attempt at release.              As Judge


         Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 35 of 46 PageID# 222

                                                                        35


   1   Fitzpatrick noted, the defendant's history, his

   2   pattern, the strength of the evidence all counseled in

   3   favor of keeping him detained.           That was when the

   4   government had the burden.          Since then, the only thing

   5   that has changed is that the burden has shifted and

   6   that Mr. Robb has now pled guilty to the charge.

   7                We outline our key arguments in the brief,

   8   but there are a few points I wanted to elaborate on.

   9                As we mentioned -- obviously, you're very

  10   familiar with the facts having just gone through the

  11   statement of facts.        I mentioned in the brief that the

  12   fraud was ongoing at the time of his arrest.                So he did

  13   not abandon his criminal conduct out of the goodness of

  14   his heart.

  15                I also wanted to highlight that Mr. Robb at

  16   the time was beginning to solicit funds for a new

  17   investment.      Now, the government hasn't been focused on

  18   this investment, but it did follow a lot of the

  19   patterns that we see in the present case, which was

  20   that he had made a lot of promises about how fast a new

  21   token would be coming out and how much money everyone

  22   could make.      But the difference was until right at the

  23   end, he wasn't actually soliciting investments for

  24   that.   So we do have significant concerns that he has

  25   multiple schemes going out there; though, again, that


         Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 36 of 46 PageID# 223

                                                                        36


   1   has not been the focus of our investigation given the

   2   limited funds he solicited from investors to this

   3   point.

   4                As you're aware, this is his third

   5   conviction.       All of these prior convictions are for

   6   fraud.     The magistrate judge in Nevada noted the

   7   similarity between the conduct at issue here and the

   8   conduct at issue in his past convictions except that

   9   the defendant was getting more sophisticated.                There's

  10   no indication, Your Honor, that he has learned his

  11   lesson despite the time that has passed.

  12                His prior experience on supervised release is

  13   also highly informative and has been a significant

  14   concern for both of the magistrates who hear this to

  15   date.    Judge Fitzpatrick found a complete inability on

  16   willingness to comply with orders of the court in the

  17   past and an abysmal failure when he was on supervised

  18   release for the first time.

  19                Now, he has not had a supervised release

  20   violation since 2005, but he, I think, only spent about

  21   six months on supervised release after being released

  22   from his second term of incarceration for the offense.

  23                During his first unsuccessful period of

  24   supervised release, though, he left the district

  25   without approval.       He did not notify his officer about


         Rhonda    F.   Montgomery    OCR-USDC/EDVA       (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 37 of 46 PageID# 224

                                                                        37


   1   a change of residence.         He failed to report to

   2   probation, and he absconded.           Most notably, he

   3   committed his other fraud offense while on supervised

   4   release for his first fraud offense.

   5               Since then, he has no stable employment.                   He

   6   has had limited other income, some of which is of

   7   questionable legitimacy.          He had no stable home.         He

   8   was hopping from casino to casino and gambling while

   9   being comped for hotel rooms.           We believe he may still

  10   have access to vehicles and other assets that he could

  11   sell for cash.

  12               I do want to address the threats as well.

  13   Judge Fitzpatrick was correct in noting that Mr. Robb

  14   did make explicit threats to victims.              This is similar

  15   to prior offenses.        Now, at the time, neither the

  16   government nor Judge Fitzpatrick were aware of explicit

  17   threats of violence, and I don't believe that's what

  18   anyone's argument was about at the time.               But the

  19   suggestion that these other threats were simply about a

  20   lawsuit or is really an incredible claim, Mr. Robb was

  21   acting erratically claiming that investors were

  22   conspiring to murder him.          He told investors that he

  23   can, quote, track you even if they were trying to

  24   conceal their identity.         And these are people operating

  25   online under monikers.


         Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 38 of 46 PageID# 225

                                                                        38


   1                He says that he knows their names, that he

   2   knows where they live.         He sent an investor his own

   3   address.     When that happens, someone who is interacting

   4   with a convicted criminal who has stolen their money

   5   does not first think, oh, he must be trying to serve me

   6   a subpoena.      That is, of course, not how the investors

   7   in this case understood those threats either.

   8                One victim said that he believed Mr. Robb

   9   was, in fact, trying to intimidate him, and another

  10   victim understood these as a veiled threat.                Again,

  11   that's just referring to the address and name and

  12   saying, "I know where you live and who you are."

  13                Now, he did make explicit threats to sue

  14   investors.      Frankly, the investors did not react with

  15   particular concern about those threats because, of

  16   course, the idea that the guy who is scamming you is

  17   going to sue you, it's not really the scariest threat.

  18   But they were concerned about his erratic behavior and

  19   his strange paranoia and the threats that were veiled

  20   threats about knowing where they live.

  21                Since then, we have learned about this

  22   additional information, this threat from an investor --

  23   excuse me, a threat received by an investor.                Ms. Rigby

  24   is correct.      We were speaking with a victim yesterday

  25   who was exercising his right to consult with the


         Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 39 of 46 PageID# 226

                                                                        39


   1   government when he was learning about the plea and had

   2   questions.      He mentioned that he was interested in the

   3   outcome of today's detention hearing because if Mr Robb

   4   was released, he was interested in seeking a

   5   restraining order.        I asked what the basis for that

   6   concern was, and this is the email that we received

   7   detailing it.

   8                So, you know, the threats on the investor and

   9   his mother's life, we don't have the direct proof for

  10   that.   That is several layers of hearsay.              But what it

  11   does do is explain some of the context in which the

  12   investors would have been hearing these threats.

  13                I left this out when I read the statement of

  14   facts, but PokerBrat2019 is one of the defendant's

  15   acknowledged monikers that he used online.                 It's clear

  16   these texts come from that.

  17                If you compare the background and the little

  18   symbol that's used for these texts, it's the same as in

  19   the statement of facts.         So suddenly disclaiming -- I

  20   have no idea where these came from.             Because I don't

  21   remember it, it means I must not have done it.                 That's

  22   simply not credible when this is supported by the

  23   statement of facts.

  24                And do I believe that Mr. Robb was literally

  25   intending to curb-stomp an investor?             No.    I think


         Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)    299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 40 of 46 PageID# 227

                                                                        40


   1   there was some degree of posturing there.               But again,

   2   he is threatening violence, and that certainly provides

   3   the context for when he makes statements like, "We can

   4   track you.      I can track you, and I know where you

   5   live."

   6                I do also want to address the conditions of

   7   release.     This is a crime, it's clear, that can be

   8   committed from home sitting in your sister's basement,

   9   and it's extremely easy for defendants, particularly

  10   sophisticated defendants, to procure devices.

  11                I have a defendant who lives in rural Maine

  12   who keeps getting devices, and he hides them under a

  13   tree.    We see this regularly with child exploitation

  14   defendants.      Electronic monitoring is only after the

  15   fact and only works for devices that the government and

  16   probation knows about.

  17                He has no meaningful ties to the community

  18   beyond his sister.        He has not lived there.          He doesn't

  19   seem to have any other meaningful relationships with

  20   his relatives there.         And while his sister is no doubt

  21   a very nice person, she does appear to have fallen

  22   victim to Mr. Robb's, frankly, self delusion and his

  23   manipulative behavior.

  24                When you listen to these jail calls, he is

  25   going on to anyone who will listen, including his


         Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 41 of 46 PageID# 228

                                                                        41


   1   sister, about how everyone but him is responsible.                     So

   2   the prosecutors are lying.          He wasn't just upset that

   3   the prosecutors had accused him of making threats.                     He

   4   was upset that they had lied because, of course, it had

   5   to be lie.      He was upset that the FBI had been lying

   6   and the affidavit was full of lies.             Everyone is out to

   7   ruin his life.      I can't remember if it was the

   8   prosecutors to be honest with the agents, but they're

   9   evil in carnet.       At one point, he said, "Basically, I'm

  10   being persecuted for my last case 20 years ago.

  11   There's no evidence."

  12                And the sister falls for this.            She believes

  13   he is the victim.       This is so unfair.         This is so

  14   unfair.    I don't know why they're picking on you.                This

  15   is ridiculous.      This is so unfair.         It's so

  16   unbelievable.      Why are you doing this to my brother?

  17   It's so wrong.      It's not your fault.         It's unfair.          You

  18   had no problems in 16 years, and then all of a sudden

  19   they arrest you.

  20                It's clear that those messages are across two

  21   different days.       Those conversations are from two

  22   different days.       It's not just reacting to allegations

  23   of threats.      Now, I will say that Mr. Robb's

  24   brother-in-law does appear to be somewhat more

  25   skeptical of Mr. Robb's claims, but he is not home


         Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 42 of 46 PageID# 229

                                                                        42


   1   during the day.       And I don't think that that is a

   2   sufficient deterrent on supervision to ensure that he

   3   does not access devices or otherwise pose a risk to the

   4   community.

   5                Unless there are other questions, Your Honor,

   6   I'll rest on our briefing.

   7                THE COURT:      All right.     Ms. Rigby.

   8                MS. RIGBY:      Just a few brief responses, Your

   9   Honor.

  10                First, I would ask the Court to consider not

  11   just what the magistrate judges found in two prior

  12   proceedings but what is before the Court today.                 There

  13   are several things that are different today.                The first

  14   of those -- or I'd say one of the most important is

  15   that the record is now more complete and clear than it

  16   was for either of those judges.            In particular, with

  17   regard to this threat issue.

  18                And second, although Mr. Robb fully

  19   understands, his exposure is the same.              The government

  20   has now agreed to cap their recommendation.                That, of

  21   course, is going to weigh on him just as it would if

  22   there were not one.        That's a fact of life.          That's

  23   very practical and true.

  24                Your Honor, in terms of whether he was

  25   continuing anything up until the time of his arrest or


         Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 43 of 46 PageID# 230

                                                                        43


   1   anything else that he did in the past, that was not

   2   when he was under the conditions that we're proposing.

   3                I don't know what the facts were of these

   4   cases where this guy is hiding it under the tree.                    I

   5   don't know if he has a third-party custodian. I don't

   6   know if he has location monitoring.              I don't know if

   7   the court banned devices altogether.              We don't know any

   8   of the details of those cases.              I'm not familiar with

   9   that many child exploitation defendants getting out on

  10   bond in the first place.

  11                The question before the Court is would this

  12   particular third-party custodian in rural Nevada on

  13   seven acres far away from town -- she's an LDS member.

  14   She's going to be home all day long.              Her husband is

  15   going to be home in the evening.              She's going to lock

  16   up her devices.        She's going to hold her keys.           The

  17   question is under all of those circumstances, is

  18   Mr. Robb likely to reoffend or threaten anybody or do

  19   anything.        Our position is he is not.

  20                So I'm not going to address every single

  21   little thing.        That is the issue:        Can the conditions

  22   do the trick?        We believe they can.

  23                Thank you.

  24                THE COURT:        All right.     Thank you.

  25                The defendant has filed a motion for release


         Rhonda    F.    Montgomery     OCR-USDC/EDVA     (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 44 of 46 PageID# 231

                                                                        44


   1   pending sentencing pursuant to Section 3143,

   2   essentially appealing the magistrate judge's decision

   3   to detain Mr. Robb.        This proceeding is a de novo

   4   consideration of the evidence that's presented to the

   5   Court.

   6               The one difference, obviously, is that the

   7   burden has shifted.        Mr. Robb has now pled guilty,

   8   which from a sentencing perspective evidences an early

   9   acceptance of responsibility.           But nevertheless, for

  10   the purposes of determining whether he should be

  11   released pending sentencing, it does shift the burden

  12   to the defendant to establish by clear and convincing

  13   evidence that he is not likely to flee or pose a danger

  14   to the safety of any other person or the community.

  15               The Court has reviewed the record both before

  16   the magistrate judge and also as that record has

  17   changed or been expanded upon in this court.                The Court

  18   has reviewed the defendant's submissions and its

  19   response to the evidence that was presented before the

  20   magistrate judge.

  21               In determining whether or not the defendant

  22   has met his burden, the Court has considered an entire

  23   range of factors, including the defendant's own

  24   criminal history, his prior supervised release

  25   violations and revocation, his mental health issues


         Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 45 of 46 PageID# 232

                                                                        45


   1   that have been put in the record, but also the

   2   disposition for any continued criminal activity and the

   3   extent to which the proposed conditions could

   4   effectively restrain any possible activity in that

   5   regard.

   6               The Court has also considered the location of

   7   the proposed home confinement and the issues that may

   8   associate with that, as well as the defendant's

   9   connection to that.        But more generally, the ability of

  10   any conditions to effectively restrain the defendant

  11   from engaging in any kinds of activity that would

  12   constitute a danger to the community or establish some

  13   ability on his part to not appear.

  14               Without indicating whether or not the Court

  15   were to reach the same decision as the magistrate

  16   judge, the issue here is whether the evidence is clear

  17   and convincing.       The Court simply can't conclude, based

  18   on this record, by clear and convincing evidence that

  19   the defendant is not likely to flee or pose a danger to

  20   the safety of any other person or the community based

  21   on the conditions proposed.          Therefore, the Court is

  22   going to deny the motion.          The defendant will remain

  23   detained pending sentencing.

  24               Anything further?

  25               MS. BEDELL:       Nothing from the government,


         Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:24-cr-00141-AJT Document 33 Filed 07/24/24 Page 46 of 46 PageID# 233

                                                                        46


   1   Your Honor.

   2               MS. RIGBY:       No, Your Honor.

   3               THE COURT:       All right.     Counsel is excused.

   4               The defendant is remanded.

   5               The Court will stand in recess.

   6                ----------------------------------
                             Time: 3:22 p.m.
   7

   8

   9

  10

  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21
             I certify that the foregoing is a true and
  22
        accurate transcription of my stenographic notes.
  23

  24
                                                    /s/
  25                                   Rhonda F. Montgomery, CCR, RPR


         Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
